









 












 
  
  
  
  
  
 




&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; COURT
OF APPEALS

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; SECOND
DISTRICT OF TEXAS

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; FORT
WORTH

&nbsp;

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NO.
2-06-242-CV

&nbsp;

&nbsp;

CARROLL INDEPENDENT &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPELLANT



SCHOOL
DISTRICT

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; V.

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NORTHWEST INDEPENDENT &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; APPELLEE

SCHOOL
DISTRICT

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ------------

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; FROM
THE 141ST DISTRICT COURT OF TARRANT COUNTY

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ------------

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; OPINION

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ------------

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; I.&nbsp; Introduction

Carroll Independent School
District appeals the trial court=s order granting the plea to the jurisdiction filed by Northwest
Independent School District on Carroll ISD=s declaratory judgment and trespass to try title claims.&nbsp; In four issues, Carroll ISD complains that
the trial court improperly granted the plea.&nbsp;
We reverse.








&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; II.&nbsp; Background Facts and Procedural History

The county line between
Tarrant and Denton Counties has long served as the common boundary between
Northwest ISD, which lies to the north of the county line, and Carroll ISD,
which lies to the south.&nbsp; When Northwest ISD
was consolidated in 1949, the order defined the district=s southern boundary as lying Aalong said County Line.@&nbsp; In 1989, the Texas Legislature
enacted section 19.010 of the Education Code, which required every school
district to file a Acomplete and
legally sufficient description of the boundaries of the district@ with the Texas Education Agency (TEA).[1]&nbsp; Pursuant to this statutory requirement,
Northwest ISD filed a boundary description showing a portion of its southern
boundary as lying along Athe County
Line between Denton and Tarrant Counties.@&nbsp; Carroll ISD filed a
description showing its northern boundary as the ANorth line of Tarrant County.@ 








The precise location of the
Tarrant-Denton County line was the subject of a protracted dispute that was
eventually resolved as a result of our 2002 decision in Tarrant County v.
Denton County.[2]&nbsp; The true location of the line was, however,
slightly north of where Denton County or either of the school districts had
previously believed it to be.








Thereafter, on October 10,
2003, the Northwest ISD Board of Trustees passed a resolution that purported to
establish the school district=s southern boundary by a metes and bounds description that appears to
follow what is known as the AWhite line,@[3] which lies to the south of the true county line.&nbsp; Northwest ISD then filed the resolution with
the TEA.[4]&nbsp; Carroll ISD responded with a letter to the
TEA stating that its northern boundary follows the county line as established
by our decision in Tarrant County v. Denton County.&nbsp; Thus, both school districts are claiming an
area that lies between the White line on the south and the Tarrant-Denton
County line on the north (the Disputed Area).&nbsp;
&nbsp;&nbsp;&nbsp; Carroll ISD filed the
underlying suit on March 1, 2005, alleging a cause of action for trespass to
try title and seeking a declaratory judgment relating to its rights and duties
to educate children and collect taxes in the Disputed Area.&nbsp; Northwest ISD then filed a plea to the
jurisdiction based on the following grounds: (1) a school district is not a Aperson@ within the
meaning of the Declaratory Judgments Act (the Act); (2) the subject matter of
this case is not a matter upon which relief may be granted under the Act; (3) a
boundary dispute may not be asserted as a declaratory judgment action; (4)
section 13.051 of the Education Code provides the exclusive method for changing
school district boundaries; and (5) Northwest ISD=s determination of its southern boundary can be attacked only via a
quo warranto proceeding.

After a hearing, the trial
court granted Northwest ISD=s plea to the jurisdiction on the basis that Carroll ISD=s claims constituted Aa claim that the existing boundary line between [the] two . . . school
districts should be modified[, and the claim] must be submitted to the
appropriate authority or authorities as required by the Texas Education Code.@ This appeal followed.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; III.&nbsp; Texas Education Code








In its first
issue, Carroll ISD contends that the trial court improperly granted Northwest
ISD=s plea to the jurisdiction based on section 13.051 of the Education
Code.&nbsp; Carroll ISD argues that section
13.051 does not apply to this case because Carroll ISD is not seeking to change
the school districts= common
boundary since the boundary is, and always has been, the Tarrant-Denton County
line.&nbsp; Carroll ISD argues that it merely
seeks a judicial determination regarding whether the Disputed Area is in the
Carroll ISD or the Northwest ISD.

Northwest ISD argues that
Carroll ISD is seeking to change the geographic boundaries separating the two
school districts and to transfer to itself from Northwest ISD property and a
significant tax base and student population.&nbsp;
Northwest ISD contends that section 13.051 of the Education Code
provides the only mechanism for accomplishing such a transfer.








The trial court must
determine at its earliest opportunity whether it has the constitutional or
statutory authority to decide the case.[5]&nbsp; Whether a trial court has subject matter
jurisdiction is a question of law that we review de novo.[6]&nbsp; When a plea to the jurisdiction challenges
the pleadings, we determine if the pleader has alleged facts that affirmatively
demonstrate the trial court=s jurisdiction to hear the case.[7]&nbsp; We construe the pleadings liberally in favor
of the plaintiff and look to the pleader=s intent.[8]

If, however, a plea to the
jurisdiction challenges the existence of jurisdictional facts, we consider
relevant evidence submitted by the parties when necessary to resolve the
jurisdictional issues raised, as the trial court is required to do.[9]&nbsp; The court should, of course, confine itself
to the evidence relevant to the jurisdictional issue.[10]&nbsp; The purpose of a plea to the jurisdiction is
not to force the plaintiff to preview its case on the merits but to establish a
reason why the merits of the plaintiff=s claims should never be reached.[11]








Section 13.051 provides an
administrative scheme for changing school district boundaries.&nbsp; Specifically, it allows territory to be Adetached from a school district and annexed to another school district
that is contiguous to the detached territory.@[12]&nbsp; The procedure begins with a
petition signed by a majority of the registered voters residing in Athe territory to be detached and annexed,@ which must be presented to each district=s board of trustees.[13]&nbsp; If both districts= boards of trustees approve the petition, the commissioners court of
the county (or counties) where the territory is located is required to Aenter an order redefining the boundaries of the districts affected by
the transfer.@[14]&nbsp; If one board of trustees
disapproves the petition, an aggrieved party in either district may appeal the
board=s decision to the Commissioner of Education.[15]&nbsp; The Commissioner=s decision may be appealed to a Travis County district court.[16]








In this case, Carroll ISD is
not attempting by its suit to change the existing boundary line between the two
school districts.&nbsp; Rather, Carroll ISD is
seeking a judicial declaration regarding whether the Disputed Area is in the
Carroll ISD or the Northwest ISD.&nbsp; For
example, in its pleadings, Carroll ISD alleges that the two school districts have
always defined their joint boundary as coterminous with the Tarrant-Denton
County line;[17]
that a court has determined that the county line is farther north than the two
school districts previously believed; and that, consequently, a boundary
dispute has arisen between Carroll ISD and Northwest ISD.&nbsp; Carroll ISD does not ask the trial court to Adetach@ the
Disputed Area from Northwest ISD and annex it to Carroll ISD.&nbsp; Thus, the relief Carroll ISD seeks is not
detachment and annexation, but a judgment resolving the boundary dispute by
declaring what the parties= rights, interests, and obligations are in the Disputed Area.








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; For these reasons, having carefully
considered Carroll ISD=s pleadings
and the relevant jurisdictional evidence submitted by both parties, we hold
that Carroll ISD does not seek to detach and annex the Disputed Area from
Northwest ISD, but seeks only a judicial determination regarding in which of
these districts the Disputed Area is, and always has been, located.&nbsp; Accordingly, the trial court erred by
granting Northwest ISD=s plea to
the jurisdiction on the ground that Carroll ISD seeks a modification of the
existing boundary line between the two districts.[18]&nbsp; Therefore, we sustain Carroll ISD=s first issue.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; IV.&nbsp;
Declaratory Judgment Claim

Northwest ISD also argued in
its plea to the jurisdiction that the trial court lacks jurisdiction over
Carroll ISD=s
declaratory judgment action because a boundary dispute may not be prosecuted
under the Act and because Carroll ISD is not a Aperson@ under the
Act.&nbsp; Carroll ISD challenges these
grounds in its second and third issues.[19]









Whether a plaintiff can
establish the right to maintain its suit under a particular statute does not
affect the trial court=s subject
matter jurisdiction over the case, but only the plaintiff=s right to relief.[20]&nbsp; Thus, the alleged inapplicability of the
Declaratory Judgments Act to the facts of this case does not support the trial
court=s order granting Northwest ISD=s plea to the jurisdiction.&nbsp;
Moreover, the term Aperson@ includes a Amunicipal or other corporation of any character.@[21]&nbsp; School districts are local
public corporations that have the same general character as municipal
corporations.[22]&nbsp; Therefore, Carroll ISD is a person for
purposes of the Act.&nbsp; We sustain Carroll
ISD=s second and third issues.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; V.&nbsp; Quo Warranto








Northwest ISD further argued
in its plea to the jurisdiction that the trial court lacks subject matter
jurisdiction over Carroll ISD=s suit because the suit is analogous to an attack on the validity of a
city=s annexation of territory, which can be raised only in a quo warranto
proceeding.[23]&nbsp; Carroll ISD challenges this argument in its
fourth issue.&nbsp; 

We disagree with Northwest
ISD=s characterization of Carroll ISD=s suit.&nbsp; Carroll ISD has simply
alleged that the two school districts are in a boundary dispute as a result of
the determination that the true Tarrant-Denton County line is farther north
than the parties originally believed.&nbsp;
Carroll ISD has not alleged that Northwest ISD is attempting to annex
Carroll ISD=s property.[24]&nbsp; Therefore, Carroll ISD was not required to
bring a quo warranto proceeding.&nbsp; We
sustain Carroll ISD=s fourth
issue.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; V.&nbsp; Conclusion








Having sustained Carroll ISD=s issues, we reverse the trial court=s order granting Northwest ISD=s plea to the jurisdiction and render judgment denying the plea.[25]&nbsp; We remand the case to the trial court for
further proceedings.[26]

&nbsp;

&nbsp;

&nbsp;

JOHN CAYCE

CHIEF JUSTICE

&nbsp;

PANEL
A:&nbsp; CAYCE, C.J.; LIVINGSTON and
DAUPHINOT, JJ.

&nbsp;

DELIVERED:&nbsp; January 17, 2008











[1]Act
of May 5, 1989, 71st Leg., R.S., ch. 150, '&nbsp;1, 1989 Tex. Gen. Laws
528, 528 (current version at Tex. Educ.
Code Ann. '
13.010(a)(1) (Vernon 2006)).





[2]See
generally Tarrant County v. Denton County, 87 S.W.3d 159,
161-66, 176 (Tex. App.CFort
Worth 2002, pet. denied), disapproved on other grounds by Martin v. Amerman,
133 S.W.3d 262 (Tex. 2004).





[3]The AWhite
line@ was
surveyed by George White in 1852 at Denton County=s
request.&nbsp; Id. at 161, 167.





[4]The
Education Code requires each school district to file Aa
complete and legally sufficient description of [its] boundaries.@&nbsp; Tex.
Educ. Code Ann. '
13.010(a)(1).&nbsp; School districts are
required to amend this information Aif the boundaries of the
district change or if any other change makes the information on file incomplete
or inaccurate.@&nbsp; Id. '&nbsp;
13.010(b).





[5]Tex.
Dep=t of
Parks &amp; Wildlife v. Miranda, 133 S.W.3d 217, 226 (Tex.
2004).





[6]Id.; Tex.
Natural Res. Conservation Comm=n v. IT‑Davy, 74
S.W.3d 849, 855 (Tex. 2002).





[7]Miranda, 133
S.W.3d at 226; Tex. Ass=n of Bus. v. Tex. Air Control
Bd., 852 S.W.2d 440, 446 (Tex. 1993).





[8]Miranda, 133
S.W.3d at 226.





[9]Id. at
227; Bland ISD v. Blue, 34 S.W.3d 547, 555 (Tex. 2000).





[10]Bland
ISD, 34 S.W.3d at 555.





[11]Id. at
554.





[12]Tex. Educ. Code Ann. '
13.051(a) (Vernon 2006).





[13]Id. '&nbsp;13.051(a),
(b)(1)(A).





[14]Id. '&nbsp;13.051(i).





[15]Id. ''&nbsp;13.051(j),
7.051, 7.057(a) (Vernon 2006); see Nueces Canyon Consol. ISD v. Cent. Educ.
Agency, 917 S.W.2d 773, 774 &amp; n.2 (Tex. 1996).





[16]Tex. Educ. Code Ann. '&nbsp;7.057(d).





[17]Both
the property description in the 1949 court order approving formation of the
Northwest ISD and the property descriptions that each school district filed
with the TEA in 1990 provide that the common boundary line between the two
districts is the Denton-Tarrant County line.&nbsp;
Northwest ISD, however, produced affidavit evidence in the trial court
that the common boundary line between the two districts was intended to be
south of what has now been determined to be the true county line. 





[18]The
cases on which Northwest ISD relies in support of its argument to the contrary
are inapposite because in both cases it was undisputed that municipalities were
attempting to annex property. &nbsp;See
Acker v. Skinner, 264 S.W.2d 503, 506 (Tex. Civ. App.CDallas
1953, writ ref=d
n.r.e.); City of Van Alstyne v. State ex rel. Bd. of Trustees of the Anna
ISD, 246 S.W.2d 671, 672 (Tex. Civ. App.CDallas 1952, writ ref=d
n.r.e.).





[19]Although
the trial court did not rule on these grounds, we must uphold the trial court=s
order granting Northwest ISD=s plea to the jurisdiction on
any legal theory that was properly before the court.&nbsp; See Guar. County Mut. Ins. Co. v. Reyna,
709 S.W.2d 647, 648 (Tex. 1986); Smith v. Duncan Land &amp; Exploration,
Inc., No. 02-05-00334-CV, 2006 WL 2034031, at *3 n.3 (Tex. App.CFort
Worth July 20, 2006, no pet.) (mem. op.).&nbsp;
Therefore, we will consider these grounds.





[20]Dubai
Petrol. Co. v. Kazi, 12 S.W.3d 71, 76-77 (Tex. 2000).&nbsp; Martin v. Amerman, on which Northwest
ISD relies, does not address the trial court=s subject matter jurisdiction
over a declaratory judgment claim.&nbsp; See
133 S.W.3d at 265-67.





[21]Tex. Civ. Prac. &amp; Rem. Code Ann. '
37.001 (Vernon 1997).





[22]San
Antonio ISD v. McKinney, 936 S.W.2d 279, 283 (Tex. 1996); Love
v. City of Dallas, 120 Tex. 351, 40 S.W.2d 20, 26 (1931); see also W.
Orange‑Cove Consol. ISD v. Alanis, 107 S.W.3d 558, 583-84 (Tex. 2003)
(holding that school districts had standing to sue under the Declaratory
Judgments Act).





[23]See
Werthmann v. City of Fort Worth, 121 S.W.3d 803, 805 (Tex.
App.CFort
Worth 2003, no pet.) (AThe
only proper method for attacking the validity of a city=s
annexation of territory is by quo warranto proceeding, unless the annexation is
wholly void.@).





[24]The
cases cited by Northwest ISD are inapposite because they all involve challenges
to the validity of proceedings creating, consolidating, or enlarging school
districts.&nbsp; See Terrell v. Clifton
ISD, 5 S.W.2d 808, 810 (Tex. Civ. App.CWaco 1928, writ ref=d); Tilton
v. Dayton ISD, 2 S.W.2d 889, 893 (Tex. Civ. App.CBeaumont
1928, writ dism=d
w.o.j.); Hoya v. Woden ISD, 292 S.W. 942, 944 (Tex. Civ. App.CBeaumont
1927, no writ); Wilson v. Brown, 145 S.W. 639, 641 (Tex. Civ. App.CDallas
1912, no writ).





[25]See Tex. R. App. P. 43.2(c).





[26]See Tex. R. App. P. 43.2(d).







